 

Case 18-17978 DOC 27 Filed 06/27/18 Page 1 Of 3

 

Fi|l m this information to identify your case:

Debtor 1

  

 

 

 

. 4 ll
rst Name e test Name
Debtor 2
(Spouse. it iiiing) Flm Name Mlddle Name least Name
United States Bankruptcy Courl for lhe: Dish'icl of mqv`fj ,Cl m l

 

Case number / cg v l 7 77§

Check ifthls is an
(lf known)

amended filing

Official Form lOGSum
Summary of Your Assets and Liabi|ities and Certain Statistical information 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
lnfonnation. Fill out all of your schedules tirst; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m`summarize Your Assets

 

 

Vour assets
§ Value of what you own
1. schedule A/B.~ Prepeny (ofnciei Form iosA/B) _,@/
1e. copy line 55, Total real estate from schedule A/B .................................................................................................. , ....... $ ,_
1b. Copy line 62, Total personal propeny, from Schedu/e A/B ............................................................................................... $ / 7¢ 792 * /§

 

 

1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ f ‘ g l)l?Z ,/

mummarize Your Liabilities

 

 

 

 

 

Your liabilities

_ Amount you owe
l 2. Schedule D.' Creditors Who Have Claims Secured by Property (Olicial Fomi 106D) 42 /3 é é C7
2a Copy the total you listed in Column A, Amount of claim, al the bottom of the last page of Part 1 of Schedu/e D ............ $--_`__./ " l
3. Schedu/e E/F.' Creditors Who Have Unsecured Claims (Oiiicial Form 106E/F) § f '
Sa. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $

3b. Copy the total claims from Pait 2 (nonprion'ty unsecured claims) from line 61 of Schedule E/F ....................................... + $ /®/

Your total liabilities $ l 3 G . 6

 

 

 

 

m:ummarize ¥our Income and Expenses

3

4. Schedu/e I: Your/ncome (Official Fomi 106|) l l la (o l / §
" Copy your combined monthly income from line 12 of Schedu/e l .......................................................................................... $ '

5, Schedu/e J.' Your Expenses (Oliicial Fomi 106J)

Copy your monthly expenses from line 220 of Schedu/e J .................................................................................................... $ _O`>L(p_¢?l_'_
Oflicial Form 1063um Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

 

 

 

 

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Deb‘°r‘ (;rr@l-‘Ul\) FOU (OU)l/O Case number<irmmi /g”. /7 7 7 g

Fnt Name l Middle Neme Last Narne

mAnswer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

m No. You have nothing to report on this part of the form. Cheok this box and submit this form to the court with your other schedules
Yes

 

 

;;, .....

7. What kind of debt do you have?

t
.»

Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personalx
family, or household purpose:” 11 U.S.C. § 101(8). Fill outlines 8-99 for statistical purposes 28 U.S.C. § 159.

a Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

 

~.w ».».~.~.-tw.-

. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Oiiicial / é
Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14. $ / é , 15

  
  

 

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

Total claim ll
From Part 4 on Schedule.E/F, copy the following:'_

9a. Domestic support obligations (Copy line 6a.) $___;@_,___
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) $-_£_______
90. Claims for death or personal injury while you were intoxicated (Copy line 60.) $___/€./_____
9d. Stuclent loans. (Copy line 6f.) $L`
Qe. Obligations arising out of a separation agreement or divorce that you did not report as $ /@/

priority claims. (Copy line 69.) "_`_
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ /@/
99. Total. Add lines 9a through 9f. 3 /@/

ncia| Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

_+'

 

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Fill in this information to identify your case: ll wh

Debtort l msmama E§£S JU?YI 2? §§ gx 33

Debtor2 _

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;“`\Ebi Qi”
narrow

 

 

  
 

   
 

(Spouse, if filing) First Name Middla Name LastName ‘

United States Banl?upt Court for the: District Of
Case number , / 7
(|f known)

 

Check if this is an

 

amended filing

Officia| Form 106Dec
Declaration About an lndividua| Debtor’s Schedules wis

lt two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy schedules or amended schedules Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

X.No

|;l Yes. Name of person . Attach Bankruptcy Peti'tion Preparer`s Notice, Deolaration, and
Signature (Ofiicial Form 119).

Under penalty of perjury, l declare that| have read the summary and schedules filed with this declaration and
that they are true and correct.

x (BA/Lt&tl/\OM/MW\_,_ X

Signature of Debqor 1 Signatui'e of Debtor 2

Date by LSF LO/ 3 Date
MM DD YYYY MM/ DD / YYYY

 

Ofiicial Form 1OSDec Declaration About an lndividua| Debtor’s Schedules

 

 

